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                            UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

  IN RE:                                           §          Case No. 20-10640-tmd
                                                   §
  EF-290, LLC                                      §
                                                   §          Chapter 11
  Debtor                                           §


        APPLICATION OF THE DEBTOR FOR AN ORDER AUTHORIZING THE
        EMPLOYMENT AND RETENTION OF THREE TWENTY-ONE CAPITAL
                  PARTNERS, LLC AS INVESTMENT BANKER

  This pleading requests relief that may be adverse to your interests.

  If no timely response is filed within 21 days from the date of service, the relief requested
  herein may be granted without a hearing being held.

  A timely filed response is necessary for a hearing to be held.

           COMES NOW, EF-290, LLC, the debtor and debtor in possession in the above-captioned

  chapter 11 case (“Applicant” or the “Debtor”) and files the instant motion seeking to employ an

  investment banker to seek out equity infusions and/or buyers for substantially all of the Debtor’s

  assets. Therefore, the Debtor hereby submits this application (the “Application”) for entry of an

  order, substantially in the form attached hereto as Exhibit A, pursuant to sections 327(a) and

  328(a) of title 11 of the United States Code (the “Bankruptcy Code”), Rules 2014 and 2016 of

  the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Local Rule 2014,

  authorizing the employment and retention of Three Twenty-One Capital Partners, LLC (“Three

  Twenty-One” or “3-21”), as investment banker to the Debtor in the chapter 11 case. In support of

  this Application, the Debtor incorporates the statements contained in the Declaration of

  Disinterestedness of Ervin Terwilliger in Support of the Application of the Debtor for an Order

  Authorizing the Employment and Retention of Three Twenty-One Capital Partners, LLC as
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  Investment Banker (the “Terwilliger Declaration”), attached hereto as Exhibit B, and further

  respectfully state as follows:

                                   JURISDICTION AND VENUE

         1.      The Debtor commended the case by filing a petition for relief under chapter 11 of

  Title 11 of the United States Code (the “Bankruptcy Code”). This Court has jurisdiction over this

  matter pursuant to 28 U.S.C. §§ 1334 and 157. This is a core proceeding under 28 U.S.C. §

  157(b)(2). Venue is proper in the Western District of Texas because the Debtor’s principal place

  of business is within the District.

         2.      Venue of this proceeding is proper in this district pursuant to 28 U.S.C. §§ 1408

  and 1409.

         3.      The statutory bases for the relief requested herein are sections 105(a), 363, and

  1184 of the Bankruptcy Code and Bankruptcy Rules 6003 and 6004.

                                           BACKGROUND

         4.      The Debtor is a family focused entertainment destination offering excitement, food,

  and fun to its patrons. Established in 2017, EF-290, LLC, opened its doors as “Epic Fun” to the

  public in 2018 as an indoor arena providing participants a wide variety of activities including

  bumper cars, indoor rock climbing, laser tag, mini bowling, and axe throwing among many others.

  The business is located in Southwest Austin and is an attraction for families, schools, and other

  groups. A more detailed history of the Debtor is discussed in the Declaration of Stacy Eppen in

  Support of the Debtor’s Chapter 11 Petition and First Day Relief (the “First Day Declaration”)

  [Docket No. 6], previously filed and incorporated by reference herein.

         5.      While the Debtor experienced steady improvement in its popularity and revenues

  unfortunately the Debtor was required to cease operations as a result of the various local, state, and
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  federal orders and guidelines due to the COVID-19 pandemic. Alongside thousands of other “non-

  essential” businesses, Debtor was required to shut their doors in March and had no way to replace

  its stream of income until it could reopen. Debtor had intended to resume operations as soon as

  was reasonable given the circumstances, however, given the Debtor’s liquidity and operational

  crisis, 3-21 was engaged by the Debtor directly to provide services during the course of the chapter

  11 case. A copy of the engagement letter is attached hereto as Exhibit C (the “Engagement

  Letter”).

                                      BACKGROUND FACTS

         6.      On May 29, 2020 (the “Petition Date”), the Debtor filed the instant petition. Debtor

  operates as a debtor-in-possession under Section 1182(2) of the Bankruptcy Code. For a further

  detailed description of the Debtor, the operations, assets and liabilities, the Debtor respectfully

  refers the Court and parties-in-interest to the First Day Declaration of Stacy Eppen. No request to

  remove the Debtor as debtor-in-possession has been made.

                          RELIEF REQUESTED & BASIS THEREFOR

         7.      The Debtor seeks entry of an order, substantially in the form filed with this

  Application (the “Order”), (a) authorizing the Debtor to retain and employ Three Twenty-One

  Capital Partners, LLC (“Three Twenty-One” or “3-21”) as their investment banker, pursuant to the

  terms of the engagement letter by and between the Debtor and 3-21, dated as of June 23, 2020 (the

  “Engagement Letter”), a copy of which is attached as Exhibit C herein and granting related relief.

  The Debtor submits the Terwilliger Declaration in support of this Application.

         8.      The Debtor seeks approval of the retention and employment of Three Twenty-One

  pursuant to sections 327(a) and 328(a) of the Bankruptcy Code. Section 328(a) provides, in

  relevant part, that a debtor in possession, “with the court’s approval, may employ or authorize the
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  employment of a professional person under section 327…on any reasonable terms and conditions

  of employment, including on a retainer, on an hourly basis, on a fixed or percentage fee basis, or

  on a contingent fee basis.” 11 U.S.C. § 328(a). Section 327(a) of the Bankruptcy Code, in turn,

  authorizes a debtor in possession to employ professionals that “do not hold or represent an interest

  adverse to the estate, and that are disinterested persons.” 11 U.S.C. § 327(a).

         9.      Section 328 of the Bankruptcy Code permits the compensation of professionals,

  including investment bankers and financial advisors, on more flexible terms that reflect the nature

  of their services and market conditions. As the United States Court of Appeals for the Fifth Circuit

  recognized in Donaldson Lufkin & Jenrette Sec. Corp. v. Nat’l Gypsum Co. (In re Nat’l Gypsum

  Co.), 123 F.3d 861 (5th Cir. 1997):

                  Prior to 1978 the most able professionals were often unwilling to
                  work for bankruptcy estates where their compensation would be
                  subject to the uncertainties of what a judge thought the work was
                  worth after it had been done. That uncertainty continues under the
                  present § 330 of the Bankruptcy Code, which provides that the court
                  award to professional consultants “reasonable compensation” based
                  on relevant factors of time and comparable costs, etc. Under present
                  § 328 the professional may avoid that uncertainty by obtaining court
                  approval of compensation agreed to with the trustee (or debtor or
                  committee).
  Id. at 862 (internal citations and emphasis omitted).

         10.     The Court’s approval of the Debtor’s retention of Three Twenty-One in accordance

  with the terms and conditions of the Three Twenty-One Engagement Letter is warranted. As stated

  herein, Three Twenty-One satisfies the disinterestedness standard in section 327(a) of the

  Bankruptcy Code. Three Twenty-One is needed post-petition to market the Debtor and its assets

  for an equity infusion or sale transaction for part of, or substantially all of, the Debtor’s assets,

  which will undoubtedly include negotiations and providing expert advice.

         11.     Three Twenty-One has extensive experience and an excellent reputation in
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  providing high-quality investment banking and distressed situations advisory services to debtors

  and creditors in bankruptcy reorganizations, mergers and acquisitions, and other restructurings.

  The Debtor believes that Three Twenty-One is well-qualified to provide its services to the Debtors

  in a cost-effective, efficient, and timely manner.

           12.    Furthermore, as detailed above, Three Twenty-One does not hold or represent an

  interest materially adverse to the estate and is disinterested.

           13.    In addition, the Debtor believes that the Fee Structure, as discussed herein, is

  market-based, fair, and reasonable under the standards set forth in section 328(a) of the Bankruptcy

  Code. The Fee Structure reflects Three Twenty-One’s commitment to the variable level of time

  and effort necessary to perform the restructuring services, Three Twenty-One’s particular

  expertise, and the market prices for Three Twenty-One’s services for engagements of this nature

  both out of court and in a chapter 11 context. Indeed, the Debtor believes that the Fee Structure

  appropriately reflects: (a) the nature and scope of services to be provided by Three Twenty-One;

  (b) Three Twenty-One’s substantial experience with respect to investment banking and distressed

  situations advisory services; and (c) the fee structures typically utilized by Three Twenty-One and

  other leading investment banks and financial advisors who do not bill their clients on an hourly

  basis.

           Three Twenty-One’s Retention is Critical to the Debtor’s Success

           14.    The Debtor submits that the retention of Three Twenty-One is in the best interests

  of all parties in interest in these chapter 11 cases. Three Twenty-One is a preeminent investment

  banking firm that is intimately familiar with the Debtor’s business. Denial of the relief requested

  herein will deprive the Debtor of the assistance of uniquely qualified investment banking

  professionals and financial advisors who have served them since June 23, 2020 and have advised
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  the Debtor with respect to potential transactions.

         15.     Considering the foregoing, the Debtor submits that the retention of Three Twenty-

  One is in the best interest of the estate, its creditors, and all parties in interest in the chapter 11

  case. The Debtor submits it has satisfied the requirements of the Bankruptcy Code, the Bankruptcy

  Rules, and the Bankruptcy Local Rules to support entry of an order authorizing the Debtor to retain

  and employ Three Twenty-One in the chapter 11 case on the terms described herein and in the

  Three Twenty-One Engagement Letter.

         Qualification of Three Twenty-One Capital Partners

         16.     Three Twenty-One Capital Partners is a leading national investment banking and

  distressed financial advisory firm with offices across the United States from Los Angeles to

  Maryland. Three Twenty-One provides a broad range of distressed and storied situation advisory

  services including (a) mergers and acquisitions; (b) recapitalization and restructuring; (c) capital

  markets advisory; and (d) private funds advisory.

         17.     Three Twenty-One and its senior professionals have extensive experience in the

  reorganization, restructuring, marketing, and liquidation of distressed companies in the retail and

  consumer sectors, both out-of-court and in chapter 11 cases, including providing financial and

  strategic advice to its clients in cases involving Supershuttle, Furniture Brands International, Tom

  Jones, Inc. Apex Express, USA Dawgs, Inc. and many others.

         18.     Three Twenty-Ones’ distressed business advisory professionals have served as

  investment bankers and/or financial advisors in numerous cases, including: In re Frictionless

  World, Inc., Case No. 19-18459 (Bankr. E.D. CO June 26, 2019); In re Butler Specialties, Inc. |

  T/A Butlerbuilt Motorsports, Case No. 19-50417 (Bankr. E.D. NC Apr. 23, 2019); In re Yeaman

  Machine Technologies, Inc., Case No. 19-05932 (Bankr. E.D. IL. Mar. 06, 2019); In re Scandia
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  Packaging Machinery Company, Case No. 18-18639 (Bankr. E.D.N.J. Apr. 30, 2018); In re Apex

  Xpress, Inc., Case No. 18-13134 (Bankr. E.D.N.J. Feb. 16, 2018); In re U.S.A. Dawgs, Inc., Case

  No. 18-10453 (Bankr. E.D. NV Jan. 31, 2018); In re Furniture Brands International (n/k/a T-A

  Windown, Inc.), Case No. 17-32273 (Bankr. E.D. IL Oct. 27, 2017); In re Troverco, Inc., Case No.

  17-44474 (Bankr. E.D. MO Jun. 29, 2017); and In re MedCision, Inc., Case No. 17-31272 (Bankr.

  N.D. CA Dec 20, 2017).

         19.     The Debtor has selected Three Twenty-One as their investment banker based upon,

  inter alia: (a) Three Twenty-One’s extensive knowledge of the Debtor, as described below; (b) the

  Debtor’s need to retain a skilled investment banking distressed business advisory firm; and (c)

  Three Twenty-One’s extensive experience and excellent reputation in providing investment

  banking and distressed situation advisory services in chapter 11 cases such as the Debtor’s. In light

  of the industry, necessary speed, and expertise of Three Twenty-One, along with Three Twenty-

  One’s resources, capabilities, and industry experience, the Debtor believes that Three Twenty-One

  is crucial to the Debtor’s continued prosecution of its bankruptcy case. An experienced investment

  banker and distressed situations advisor such as Three Twenty-One fulfills a critical need that

  complements the services provided by the Debtor’s legal professionals. For these reasons, the

  Debtors require the services of a capable and experienced investment banker and distressed

  situations advisor such as Three Twenty-One.

         20.     Throughout Three Twenty-One’s engagement, Three Twenty-One provides

  valuable services to the Debtor in connection with its efforts, including, among others: (i) assisting

  the Debtor in reviewing and analyzing the Debtor’s results of operations, financial condition, and

  business plans; (ii) assisting the Debtor in reviewing and analyzing restructuring alternatives or

  capital transactions; (iii) advising and assisting the Debtor in negotiating and raising post-petition
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  financing; (iv) advising and assisting the Debtor in negotiations with seeking equity infusions

  and/or the marketing and sale of substantially all of its assets; and (iv) meeting with the Debtor

  and the Debtor’s stakeholders, as appropriate, to discuss the various proposed transactions to

  ensure that the Debtor received the highest and best value available in the market.

          21.     Accordingly, the Debtor believes Three Twenty-One is well-qualified to represent

  them in a cost-effective, efficient, and timely manner, and the Debtor submits that the employment

  and retention of Three Twenty-One is in the best interests of the Debtor, its creditors, and all parties

  in interest.

                                   SERVICES TO BE PROVIDED

                  22. As of June 23, 2020, Three Twenty-One commenced its engagement with the

  Debtor to provide investment banking and distressed situations advisory advice and services in

  connection with a potential equity infusion and/or sale of substantially all of the Debtor’s assets.

  The terms and conditions of the Three Twenty-One Engagement Letter were the result of

  significant discussions and negotiations between Three Twenty-One and the Debtor, and they

  reflect the parties’ mutual agreement as to the substantial efforts that will be required in this

  engagement. Pursuant to the Three Twenty-One Engagement Letter, Three Twenty-One has and

  will perform the following services, as requested, for the Debtor:

                  a.     Work with Debtor to devise the best course of action to effectuate the
                  desired outcome for the Debtor.

                  b.      Conduct due diligence on Debtor’s Business.

                  c.      Create a marketing plan.

                  d.      Create financial modeling to aid in the Transaction.

                  e.      Work with third party professionals and creditors.

                  f.      Prepare marketing materials, confidential information presentation and
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                 secure due diligence data room which will include information regarding the
                 Business. (Debtor shall have final approval of all materials and their use and prior
                 approval of all prospective purchasers given access to the data room).

                 g.     Endeavor to locate parties who may have an interest in a Transaction with
                 the Debtor.

                 h.     Circulate materials, as appropriate and approved by the Debtor, to facilitate
                 a Transaction.

                 i.     Respond, provide information to, communicate and negotiate with and
                 obtain offers from interested parties and make recommendations to the Debtor as
                 to whether an offer should be accepted.

                 j.      Communicate regularly with the Debtor about the status of 3-21's efforts
                 with respect to the marketing efforts.

                 k.     Recommend to the Debtor the proper method of handling any specific
                 problems encountered with respect to the marketing of the Business.

                 l.      Perform related services necessary to maximize the proceeds to be realized
                 for the Business.

                 m.     3-21 shall have no authority to bind the Debtor to any agreements or offers.


         23.     If the Debtor requests that Three Twenty-One perform services not contemplated

  by the Three Twenty-One Engagement Letter, Three Twenty-One and the Debtor will agree, in

  writing, on the terms for such services and seek the Court’s approval thereof.

                              PROFESSIONAL COMPENSATION

         28.     Three Twenty-One’s decision to advise and assist the Debtor in connection with its

  chapter 11 case is subject to its ability to be retained in accordance with the terms of the Three

  Twenty-One Engagement Letter pursuant to section 328(a) of the Bankruptcy Code.

         29.     As set forth more fully in the Three Twenty-One Engagement Letter, Three

  Twenty-One and the Debtor have agreed on the following terms of compensation and expense

  reimbursement (the “Fee Structure”):
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                (a)    Retainer. Upon entry of the order approving Three Twenty-
                One as the Debtor’s Investment Banker, a retainer of $10,000 (the
                “Retainer”), payable immediately upon entry of the approval order
                by the Bankruptcy Court.


                (b)     Expenses. Subject to approval of the U.S. Bankruptcy Court,
                the Debtor shall promptly pay the deal related expenses (the
                “Expenses”) incurred by 3-21 during the term of this Agreement.
                Unless otherwise agreed to by the Debtor, Expenses are limited to
                marketing costs, business services, data room expenses, database
                services, printing, mailing, and travel-related expenses. If the Debtor
                is unable to pay the Expenses when due, such unpaid amounts will
                be paid from the proceeds of a Transaction. In the case of multiple
                Transactions unpaid Expenses shall be paid from the proceeds of the
                first Transaction to close.

                (c)     3-21 Fee. Subject to approval of the U.S. Bankruptcy Court,
                as compensation under this Agreement, and for facilitating a
                Transaction in accordance with the terms hereof, 3-21 will be paid
                a fee, in cash, at the Closing of any Transaction (the “Fee”) based
                upon Transaction Value received by Client and computed using the
                following formula: Seven Percent (7.5%) of all Transaction Value
                (as defined in the Three Twenty One Engagement Agreement). The
                Fee shall be the greater of the above calculation or Seventy-Five
                Thousand Dollars ($75,000). The Fee shall be paid in cash at
                Closing with respect to any portion of the Transaction Value.


         30.    As set forth in the Three Twenty-One Engagement Letter, more than one fee and

  more than one type of fee may be payable to Three Twenty-One under the Three Twenty-One

  Engagement Letter in connection with any single Transaction or a series of Transactions, and in

  each case, each such fee will be paid to Three Twenty-One. No fee or compensation payable to

  any third party by the Debtor or any other person or entity in connection with the subject matter

  of this engagement will reduce or otherwise affect any fee payable by the Debtor to Three Twenty-

  One under the Three Twenty-One Engagement Letter.

         31.    In addition to any fees payable to Three Twenty-One, the Debtors will reimburse

  Three Twenty-One for all of its reasonable and documented out-of-pocket expenses incurred in
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  entering into and performing services under the Three Twenty-One Engagement Letter.

         32.     The Debtor believes the Fee Structure is consistent with, and typical of,

  compensation arrangements entered into by Three Twenty-One and other comparable firms in

  connection with the rendering of similar services under similar circumstances, both in and out of

  bankruptcy proceedings. The Debtor also believes the Fee Structure reflects a balance between a

  fixed, monthly fee, and a contingency amount, which is tied to the consummation and closing of

  the transactions and services contemplated by the Debtor and Three Twenty-One in the Three

  Twenty-One Engagement Letter. The Debtor believes the Fee Structure is reasonable, market-

  based, and designed to compensate Three Twenty-One fairly for its work.

         33.     Three Twenty-One’s strategic and financial expertise, as well as its capital markets

  knowledge, financing skills, and restructuring capabilities, some or all of which have and will be

  required by the Debtor during the term of Three Twenty-One’s engagement, were important

  factors to the Debtor in determining the Fee Structure.

         34.     The Debtor has not paid Three Twenty-One any during the 90-day period before

  the Petition Date. As of the Petition Date, the Debtors do not owe Three Twenty-One any fees for

  services performed or expenses incurred under the Three Twenty-One Engagement Letter.

           THREE TWENTY ONE CAPITAL PARTNERS DISINTERESTEDNESS

         35.     Three Twenty-One has reviewed the list of parties in interest provided by the

  Debtor. To the best of the Debtor’s knowledge, information, and belief, and except to the extent

  disclosed herein and in the First-Day Declaration, Three Twenty-One: (a) is a “disinterested

  person” as such term is defined in section 101(14) of the Bankruptcy Code, as modified by section

  1107(b) of the Bankruptcy Code, as required by section 327(a) of the Bankruptcy Code; (b) does

  not hold or represent an interest materially adverse to the estates with respect to the matters on
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  which Three Twenty-One will be employed; and (c) has no connection to the Debtors, the chapter

  11 case, their creditors, or their related parties.

          36.     The Debtor is informed that Three Twenty-One will not share any compensation to

  be paid by the Debtor in connection with services to be performed after the Petition Date with any

  other person, other than principals and employees of Three Twenty-One, to the extent required by

  section 504 of the Bankruptcy Code.

          WHEREFORE, the Debtor respectfully requests that the Court enter an Order

  substantially in the form of the Order filed with this Application, granting the relief requested

  herein, and such other relief as is just and proper.

  July 2, 2020                                           Respectfully submitted,

                                                         HAJJAR PETERS LLP

                                                         By: /s/Charlie Shelton
                                                         Charlie Shelton
                                                         Bar Number: 24079317
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                                                         Austin, TX 78746
                                                         (512) 637-4956
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                                                         cshelton@legalstrategy.com
                                                         ATTORNEYS FOR DEBTOR
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                                     CERTIFICATE OF SERVICE
            This is to certify that a true and correct copy of foregoing motion was served on July 2,
  2020, via CM/ECF on all parties requesting such notice. Additionally, on July 2, 2020 or within
  one business day thereafter, the foregoing application was served on all parties listed below.
  Additionally, on July 2, 2020 or within one business day thereafter, the Notice of Employment of
  Professional was served on all parties listed on the attached creditors’ matrix who did not receive
  electronic notice. Exhibits are available upon request.
                                                                 /s/Charlie Shelton
                                                                 Charlie Shelton


   Robert L. Barrows                                Kell C. Mercer, P.C.
   Warren, Drugan & Barrows, P.C.                   1602 E. Cesar Chavez Street
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                                                    Counsel for BBD Commercial
   Counsel for Berkshire Bank
                                                    Via email: kell.mercer@mercer-law-pc.com
   Via email: rbarrows@wdblaw.com

   Mike Colvard                                     EF-290, LLC
   300 Convent St # 2500                            c/o Dane Eppen and
   San Antonio, TX 78205                            Stacy Eppen
                                                    7101 W, TX-71 Suite D
   Subchapter V Trustee                             Austin TX, 78735

   Via email: mcolvard@mdtlaw.com                   Debtor
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Label Matrix for local noticing       EF-290, LLC  14                    U.S. BANKRUPTCY COURT
0542-1                                               7101 Highway 71                                      903 SAN JACINTO, SUITE 322
Case 20-10640-tmd                                    Austin, TX 78735-8307                                AUSTIN, TX 78701-2450
Western District of Texas
Austin
Thu Jul 2 18:06:52 CDT 2020
ASKBR Investments, LLC                               Andrew Roggensack                                    BBCC Oak Hill
C/o Andrew Roggensack                                4115 Grand Ave                                       151 W. 6th Street
4115 Grand Ave                                       Western Springs, IL 60558-1433                       Austin, TX 78701
Western Springs
IL 60558-1433

BBCC Oak Hill, LP                                    Berkshire Bank                                       Berkshire Bank
c/o Kell C. Mercer                                   1787 Sentry Parkway West                             c/o Robert L. Barrows
Kell C. Mercer, PC                                   Building 16, Suite 200                               Warren, Drugan & Barrows, P.C.
1602 E. Cesar Chavez Street                          Blue Bell, PA 19422-2239                             800 Broadway, Suite 200
Austin, TX 78702-4456                                                                                     San Antonio, Texas 78215-1241

(p)JPMORGAN CHASE BANK N A                           Dave Paul                                            Eppen Entertainment Group, LLC
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700 KANSAS LANE FLOOR 01                             Crown Point, IN 46307-1881                           Austin
MONROE LA 71203-4774                                                                                      TX 78739-2135


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                                                     Boca Raton, FL 33487-2853

Stacy and Dane Eppen                                 Steven Bass                                          U.S. Small Business Administration
c/o Sprouse Law Firm                                 U.S. Attorney’s Office                               Chief, AIB
401 Congress Ave, Ste 1540                           903 San Jacinto Blvd., Ste. 334                      409 3rd Street., SW
Austin, TX 78701-3851                                Austin, TX 78701-2449                                Washington, DC 20416-0011


United States Trustee - AU12                         Herbert C Shelton II                                 Michael G. Colvard
United States Trustee                                Hajjar Peters                                        300 Convent St.
903 San Jacinto Blvd, Suite 230                      3144 Bee Cave Rd                                     San Antonio, TX 78205-1316
Austin, TX 78701-2450                                Austin, TX 78746-5560


Todd Brice Headden
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3144 Bee Caves Rd.
Austin, TX 78746-5560




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Chase Bank USA, N.A.                                 End of Label Matrix
Attn: Keith W. Schuck                                Mailable recipients     21
200 White Clay Center Dr.                            Bypassed recipients      0
Newark, DE 19711-0000                                Total                   21
